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                        EXHIBIT A
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                                                #: 482187
                                                                                      Epiq
                                                                                      10300 SW Allen Blvd.
                                                                                      Beaverton, OR 97005

                                                                                      Tel: 503.350.5800
                                                                                      Toll Free: 800.547.4407
  December 20, 2021

  To:   Rule 23(b)(3) Class Counsel
        In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation

  Re:   Funding Request for June 2021 to November 2021 Invoices

  Funding is requested for invoices issued by Epiq since the prior Funding Request for fees and expenses
  incurred from the month of June 2021 through November 2021. These six invoices total $368,399.26. The
  invoices principally relate to the following activities: staffing the toll-free number and email inbox to
  respond to class member questions, maintaining and updating the settlement website, data preparation
  and hosting efforts, and periodic reporting for counsel.

                          Epiq Invoice #     Billing Period        Amount
                          90557587                      June 2021     $48,730.44
                          90565475                       July 2021    $48,041.18
                          90573900                    August 2021     $50,115.90
                          90581928                September 2021     $120,481.83
                          90591134                   October 2021     $52,733.00
                          90598922                 November 2021      $48,296.91
                                                            Total:      $368,399.26

  Epiq recommends that these outstanding invoices be paid $ 313,139.37 (85%) from the Payment
  Interchange Class I QSF and $55,259.89 (15%) from the Class Settlement Interchange Escrow Account(s)
  (Fund II). Should a different allocation be preferred, please advise.

  Payment may be wired to Epiq via the following account:

          Epiq Class Action & Claims Solutions




          Re: Payment Card Interchange

  If there are questions or concerns, please let me know.

  Sincerely,

  EPIQ CLASS ACTION & CLAIMS SOLUTIONS, INC.

  By              /s/
          Michael O’Connor
          Vice President
